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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

ARTHREX, INC.

      Plaintiff,

v.                                                     Case No. 2:22-cv-00748

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA. AND
FEDERAL INSURANCE COMPANY

      Defendants.
___________________________

      PLAINTIFF’S UNOPPOSED MOTION TO AMEND COMPLAINT
                   PURSUANT TO FED. R. CIV. P. 15

       Plaintiff Arthrex, Inc. (“Arthrex”), by and through its undersigned counsel, and

with agreement of both defendants, hereby files this Motion to Amend Complaint

Pursuant to Fed. R. Civ. P. 15 in the above-captioned lawsuit (“Motion”).

                   MEMORANDUM OF LEGAL AUTHORITY

       This proposed amendment involves removing Plaintiff Arthrex’s Second Claim

for Relief (Bad Faith – Against All Defendants). Plaintiff and the Defendants had

previously agreed to the dismissal of that particular cause of action, and filed a

Stipulation of Dismissal under Federal Rule of Civil Procedure 41 on March 13, 2023.

ECF 87. On March 21, 2023, the Court struck the Stipulation of Dismissal, notifying

the parties that such a stipulation was not the correct vehicle for dismissing a particular

claim within an action. ECF 88.
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      This motion, which has been consented to by all parties, seeks to correct that

error by moving pursuant to Rule 15 to amend the Complaint to remove the Second

Claim for Relief—without prejudice—per the parties’ previous agreement and intent.

See Campbell v. Altec Indus., Inc., 605 F.3d 839, 841 n.1 (11th Cir. 2010). The Second

Amended Complaint will be identical to the First Amended Complaint except that

what is presently (a) Count II of the First Amended Complaint (ECF No. 86 ¶¶ 160-

172), and (b) Paragraph b of First Amended Complaint’s Prayer for Relief, will no

longer be included in the pleading.

      Rule 15(a)(2) authorizes amendment either “with the opposing party's written

consent” or “the court’s leave.” Fed. R. Civ. P. 15(a)(2). Because the opposing parties

here have consented in writing to this amendment, Arthrex should be permitted to

amend the Complaint to remove, without prejudice to its right to reassert such a claim

in the future, its Second Claim for Relief. See id. In addition, to the extent the Court’s

leave is required, Rule 15 states that the Court “should freely give leave when justice

so requires.” Id. Here, leave to amend to remove the Second Claim for Relief is in the

interests of justice because it will narrow the issues before the Court and will benefit

the smooth administration of this case.

                                    CONCLUSION

      For the foregoing reasons, Arthrex respectfully requests that the Court grant its

Motion to Amend the Complaint to remove the Second Claim for Relief pursuant to

Fed. R. Civ. P. 15.


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                      LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g) of the United States District Court for the

Middle District of Florida, the undersigned certifies that counsel for the Plaintiff

conferred in good faith with counsel for the Defendants via electronic mail on

March 22, 2023, about this motion. The parties agree to the relief sought herein.

DATED: March 22, 2023                         Respectfully submitted,

                                               s/ Alexander H. Berman
 Michael R. Esposito                           Justin F. Lavella (pro hac vice)
 Florida Bar No.: 37457                        Alexander H. Berman (pro hac vice)
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Counsel for Defendant Arthrex, Inc.


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 22, 2023, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served this day on all counsel of record via transmission

of the Notice of Electronic Filing generated by CM/ECF.

                                       s/ Alexander H. Berman
                                       Alexander H. Berman




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